        Case 2:25-cv-00015-MJH                Document 55           Filed 01/16/25   Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA
--------------------------------------------------------------- X
 UNITED STATES STEEL CORPORATION,                               :
 NIPPON STEEL CORPORATION, and NIPPON :                             Civil Action No.: 2:25-cv-15
 STEEL NORTH AMERICA, INC.,                                     :
                                                                :
                             Plaintiffs,                        :
                                                                :   JURY TRIAL DEMANDED
          vs.                                                   :
                                                                :
 CLEVELAND-CLIFFS INC., LOURENCO                                :
 GONCALVES, and DAVID McCALL,                                   :
                                                                :
                             Defendants.                        :
--------------------------------------------------------------- X

                                                    ORDER

        AND NOW, upon consideration of Plaintiffs’ Motion for Leave to File Reply in Support

   of Motion for Expedited Proceedings, it is hereby ORDERED that the Motion is GRANTED.

        Plaintiff is hereby directed to file Plaintiffs’ Reply in Support of Motion for Expedited

Proceedings, which was attached as Exhibit 1 to the Motion (Doc. No. 54-1).

                                                      BY THE COURT:



                                                      _________________________________________
                                                      Marilyn J. Horan, United States District Judge
